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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

MARIAM YAHIA IBRAHEEM ISHAG,
individual and as parent and guardian
of her minor children Mn. W. and Ma. W.,

               Plaintiffs,

v.                                                     CIVIL ACTION NO.: 21-cv-00751

REPUBLIC OF SUDAN,

               Defendant.
                                               /

      JOINT STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

       COME NOW the Parties, by and through their undersigned attorneys, pursuant to Civ. R.

41(a)(1)(A)(ii) hereby stipulate and agree that this action be dismissed with prejudice and

without the taxation of costs. The parties hereto constitute all parties to this action.

       DATED this 31st day of January, 2023.

                                                       /s/ J. Nixon Daniel, III
                                                       J. Nixon Daniel, III
                                                       D.C. Bar No. FL0031
                                                       jnd@beggslane.com
                                                       Beggs & Lane, RLLP
                                                       501 Commendencia Street
                                                       Pensacola, FL 32502
                                                       (850) 432-2451

                                                       Attorney for Mariam Yahia Ibraheem Ishag
                                                       Individually and as parent and guardian of
                                                       of her minor children Mn. W. and Ma. W.



                                                               and
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                                                   /s/ Christopher M. Curran
                                                   Christopher M. Curran (D.C. Bar No.
                                                   408561)
                                                   Nicole Erb (D.C. Bar No. 466620)
                                                   Claire A. DeLelle (D.C. Bar No. 974945)
                                                   Celia A. McLaughlin (D.C. Bar No.
                                                   1007891)
                                                   701 Thirteenth Street, NW
                                                   Washington, DC, 20005-3807
                                                   (202) 626-3600
                                                   ccurran@whitecase.com
                                                   nerb@whitecase.com
                                                   cdelelle@whitecase.com
                                                   cmclaughlin@whitecase.com

                                                   Attorneys for the Republic of the Sudan

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 31st day of January 2023, a true and correct copy of

the foregoing was filed and served by the Clerk of the Court to all counsel of record using the

CM/ECF system.

                                                   Respectfully submitted,


                                                   /s/ J. Nixon Daniel, III
                                                   J. Nixon Daniel, III
                                                   D.C. Bar No. FL0031




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